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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF INDIANA
                                   INDIANAPOLIS DIVISION

  ERIN ALDRICH , LONDA BEVINS,                 )
  JESSICA JOHNSON, and BEATA                   )
  CORCORAN, individually and on behalf         )
  of all others similarly situated,            )
                                               )
                 Plaintiffs,                   )
                                               )
  v.                                           )         No. 1:20-cv-02310-JRS-MPB
                                               )
  NATIONAL COLLEGIATE ATHLETIC                 )
  ASSOCIATION and THE BOARD OF                 )
  GOVERNERS OF THE NATIONAL                    )
  COLLEGIATE ATHLETIC                          )
  ASSOCIATION,                                 )
                                               )
                 Defendants.                   )


              PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ REQUEST
          TO VACATE LOCAL RULE REQUIREMENTS AND STAY THE CASE

         Plaintiffs Erin Aldrich, Londa Bevins, Jessica Johnson, and Beata Corcoran (“Plaintiffs”)

  respectfully submit this Opposition to Defendants National Collegiate Athletic Association and

  the Board of Governors of the National Collegiate Athletic Association’s (collectively,

  “NCAA”) motion, asking this Court to vacate the Local Rule 16-1(c)(1) requirement to submit a

  Case Management Plan (“CMP”), delay scheduling of an initial case management conference

  (“CMC”), and stay discovery until resolution of NCAA’s anticipated motion to dismiss.

                                       I.   INTRODUCTION

         This case has already been pending for seven months and has already survived an initial

  motion to dismiss pursuant to Fed. R. Civ. P. 12. There is no reason to further delay discovery

  relating to the NCAA’s purposeful failure to prohibit sexual relationships between coaches and

  student-athletes, which it has acknowledged is a pervasive problem.



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          Before this case was transferred to this District, Judge Davila in the Northern District of

  California addressed the same issues that will be included in the NCAA’s Rule 12(b)(6) motion,

  such as a statute of limitations defense to three Plaintiffs’ claims. While the preclusive effect of

  Judge Davila’s ruling need not be resolved today, the NCAA nevertheless cannot meet its burden

  to stay the case.

          First, the NCAA seeks to vacate the L.R. 16-1 requirement for the parties to file a Case

  Management Plan (“CMP”) but fails to provide any reasons other than its inconvenience, and

  thus, fails to satisfy the “good cause” standard contained in the rule. The CMP process is

  relatively simple, involving the population of a template on this Court’s website, coordinated by

  Plaintiffs. Thus, the NCAA will not suffer undue burden.

          Next, the NCAA asks this Court to stay discovery until its motion to dismiss is decided. 1

  Yet filing a motion to dismiss does not automatically warrant a stay. In fact, the opposite is true

  in this District. To merit a stay, the defendant must show that there will be no prejudice to

  plaintiff, a stay will streamline the issues, and a stay will reduce the burden of the litigation on

  the parties and court—none of which the NCAA can show. First, a stay will prejudice Plaintiffs,

  whose Amended Complaint seeks to impose injunctive relief requiring the NCAA to protect

  vulnerable student-athletes from predatory coaches. In light of the seriousness of the allegations,

  the NCAA’s claim that Plaintiffs will suffer no prejudice by a stay is false. Moreover, discovery

  is likely to produce facts that will further support defeat of NCAA’s 12(b)(6) motion, so a

  discovery stay would prejudice Plaintiffs by denying them the opportunity to include such

  discovered facts in an amended complaint, should one be necessary to cure defects if the Court

  finds any. Second, a stay will not streamline the issues because the anticipated motion to dismiss


          1
           On page 3 of its brief, NCAA erroneously states that Plaintiffs request a discovery stay.
  As is clear from Plaintiffs’ position statement (Dkt. No. 111) and this brief, Plaintiffs do not.


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  is highly unlikely to resolve all claims. Judge Davila’s ruling signals the merits of Plaintiffs’

  claims and the sufficiency of Plaintiffs’ allegations under Rule 12(b)(6) scrutiny. Third,

  discovery here will be the same, regardless of which claims survive, so the NCAA’s claim that a

  stay will alleviate its burden to respond to discovery merely defers its burden, and thus cannot be

  a basis for stay.

          Plaintiffs respectfully request that this Court deny the NCAA’s motion to stall the orderly

  progress of this very important case to Plaintiffs and NCAA student-athletes across the country.

                                     II.    SUMMARY OF FACTS

          Plaintiffs initiated this putative class action in the United States District Court for the

  Northern District of California against the NCAA Defendants. Aldrich v. NCAA, No. 5:20-cv-

  01733-EJD (N.D. Cal.). Plaintiffs also brought claims against John Rembao, the coach who

  sexually abused and retaliated against Ms. Aldrich, Ms. Bevins, and Ms. Johnson. Ms. Corcoran,

  a current-student athlete, joined the case.

          The NCAA Defendants filed a motion to dismiss on various grounds, including the

  statute of limitations and lack of personal jurisdiction. Rembao filed a motion to dismiss as to

  the statute of limitations, as well failure to state claims upon which relief can be granted. On

  September 3, 2020, the Honorable Edward J. Davila granted the NCAA’s motion to transfer the

  case to this Court. Judge Davila denied Rembao’s Rule 12 motion in its entirety, including the

  statute of limitations’ challenge, finding that Plaintiffs’ claims may be tolled by various




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  exceptions to the applicable statutes. Aldrich v. NCAA, Case No. 5:20-cv-01733-EJD, 20 WL

  5255671, at *12-15 (N.D. Cal. Sept. 3, 2020). 2

         After transfer to this Court, the parties conferred. The parties agreed on a schedule for

  Plaintiffs to file their Second Amended Complaint, as well as a schedule for briefing NCAA’s

  anticipated motion to dismiss, which schedule was contained in Plaintiffs’ Statement of Position,

  later modified. Dkt. No. 111. The NCAA asked Plaintiffs to agree to delay the CMP deadline

  under L.R. 16-1 and to stay discovery until its motion to dismiss was decided. Plaintiffs refused,

  and the NCAA’s instant motion followed. Dkt. Nos. 113, 114 (collectively, “NCAA Br.”).

                             III.    STANDARD FOR ISSUING A STAY

         “A party has no right to a stay, and the party seeking a stay bears the burden of proving

  that the Court should exercise its discretion in staying the case.” Ind. State Conf. of the NAACP

  v. Lawson, No. 1:17-cv-02897-TWP-MPB, 2018 WL 4853567, at *3 (S.D. Ind. Oct. 5, 2018)

  (denying motion to stay proceedings and discovery) (citing Ind. State Police Pension Tr. v.

  Chrysler L.L.C., 556 U.S. 960, 961 (2009)). See also United States ex rel. Robinson v. Indiana

  Univ. Health Inc., No. 1:13-CV-02009-TWP, 2015 WL 3961221, at *9 (S.D. Ind. June 30, 2015)

  (citation omitted) (denying motion to stay discovery, notwithstanding a pending Rule 12 motion).

             In considering a stay request, a court evaluates: “(i) whether a stay will unduly prejudice

  or tactically disadvantage the non-moving party, (ii) whether a stay will simplify the issues in

  question and streamline the trial, and (iii) whether a stay will reduce the burden of litigation on

  the parties and on the court.” Lawson, 2018 WL 4853567, at *2 (citation omitted). “Courts



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           While it is true that Judge Davila did not rule on the NCAA’s statute of limitations
  argument because he had decided the jurisdictional issue in favor of the Southern District of
  Indiana, the NCAA’s statute of limitations argument was substantively identical to Rembao’s,
  and therefore, there is no reason why the Court’s decision on Rembao’s statute of limitations
  argument would not equally apply to the NCAA’s argument.


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  disfavor stays of discovery ‘because they bring resolution of the dispute to a standstill.’” Id. See

  also Red Barn Motors, Inc. v. Cox Enterprises, Inc., No. 1:14-CV-01589, 2016 WL 1731328, at

  *3 (S.D. Ind. May 2, 2016) (denying motion to stay discovery).

                                          IV.     ARGUMENT

          A. The Case Management Conference and Case Management Plan should proceed
             in accordance with Local Rule 16-1.

          Local Rule 16-1(c)(1) requires the parties to submit a proposed CMP “within 90 days

  after the case was either filed or removed to the court.” Although this case was neither filed in

  nor removed to this Court, both parties agree that application of this local rule requires the

  submission of a CMP by December 7, 2020, 90 days after the case was docketed in this Court.

  See NCAA Br. at 3. The rule provides that “deadlines established in any order or pretrial entry

  under this rule may not be altered unless the parties and the court agree, or for good cause

  shown.” L.R. 16-1(f). Thus, in order to delay the filing of a joint Case Management Plan, the

  NCAA must demonstrate “good cause.”

          “The court relies on Local Rule 16-1 to facilitate the orderly and efficient management of

  cases.” Attorney’s Handbook for the United States District Court Southern District of Indiana at

  p. 21, available at https://www.insd.uscourts.gov/sites/insd/files/Attorney%20Handbook.pdf.

  Indeed, this is directly in line with Fed. R. Civ. P. 1’s mandate that the Federal Rules “should be

  construed, administered, and employed by the court and the parties to secure the just, speedy,

  and inexpensive determination of every action and proceeding.” The goal of the local rule

  requiring the parties to confer at the initiation of a case is so the parties “give thoughtful

  consideration to the merits and the amount of damages at issue in a case at the initial stages….”

  Id. “One of [the] principal policies [supporting L.R. 16-1] is that counsel can and should

  conduct many phases of litigation without the direct involvement or supervision of the court,



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  thereby giving greater flexibility to the attorneys and their clients, as well as conserving judicial

  resources.” Id. The NCAA’s motion disrupts the ordinary course of events and subverts the

  policy considerations behind the rule.

         The L.R. 16-1 requirements for a Case Management Plan are not onerous, nor does the

  NCAA contend they are. This Court’s website provides a link to a template document, and even

  provides it in user-friendly Word format. See https://www.insd.uscourts.gov/case-management-

  plans. The template CMP is a 10-page document to be populated with the relevant information,

  and the burden is on plaintiff to initiate and coordinate its filing. See L.R. 16-1(d). Requiring

  the NCAA to participate by providing basic information for completion of the CMP can hardly

  be considered burdensome.

         The NCAA’s sole reason to avoid this requirement under the local rules is that the

  NCAA’s “anticipated motion to dismiss and/or strike could dispose of the case in its entirety….”

  NCAA Br. at 3. Yet the drafters of L.R. 16-1 were undoubtedly aware of the timeline for filing a

  motion to dismiss under Rule 12(b). If the drafters of the Local Rules intended that a motion to

  dismiss stay the application of L.R. 16-1, they would have said so.

         Further, the NCAA does not have a mechanism to dismiss all claims against all Plaintiffs

  in one stroke. Rather, NCAA reveals that it will make a piecemeal attempt at defeating the

  Plaintiffs’ claims, by arguing that Plaintiff Corcoran does not have standing for injunctive relief;

  that Plaintiffs Aldrich, Johnson, and Bevins’ statutes of limitations have expired and are not

  subject to tolling; and that the NCAA cannot be liable for vicarious liability for a coach’s

  actions. See NCAA Br. at 4. This motion to dismiss, familiar to Plaintiffs, will not dispose of

  the entire case. See, e.g., United States ex rel. Robinson v. Indiana Univ. Health Inc, 2015 WL




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  3961221, at *7 (“[T]he prospect of [defendant’s] motions resolving this case in its entirety is

  simply not high enough to justify granting a stay”).

         In fact, the NCAA will likely be precluded from raising issues that have already been

  decided, such as the statute of limitations. Judge Davila has already concluded that the statute of

  limitations for Plaintiffs Aldrich, Johnson, and Bevins’s claims were tolled under the applicable

  state laws, sufficient to survive a motion to dismiss. “[C]ourts should refrain from reopening

  issues decided in earlier stages of the same litigation” and this “applies when a when a case is

  transferred from one district court to another.” DMC Mach. Am. Corp. v. Heartland Mach. &

  Eng’g, LLC, No. 1:17-cv-00369-SEB-MPB, 2018 WL 4590393, at *3 (S.D. Ind. Sep. 25, 2018)

  (citing Christianson v. Colt Indus. Operating Corp., 486 U.S. 800, 816 (1988)). The NCAA’s

  assertion, that the statute of limitations may be case dispositive relative to their forthcoming

  motion to dismiss, should not be a consideration here.

         The cases cited by the NCAA provide no support for their position because none of the

  cases involved a delay of the L.R. 16-1 CMP deadline (or a stay of discovery pending a Rule

  12(b)(6) motion). See NCAA Br. at 3-4. In Spangler v. Sears, Roebuck & Co., 138 F.R.D. 122

  (S.D. Ind. 1991), the case deadlines, including the discovery cut-off and a trial date, had already

  been set. While the scheduling order referenced in the opinion was issued “after over three years

  of pretrial discovery had been conducted” to “insure completion of any discovery which had not

  been finalized in the three year life of this case” (id. at 124), the court was not referring to a CMP

  under Rule 16 or L.R. 16-1. And Anderson v. Dunbar Armored, Inc., 678 F. Supp. 2d 1280,

  1292 (N.D. Ga. 2009), was not filed in this District and thus does not involve Local Rule 16-1.

  There, the court declined to issue a scheduling order in light of pending motions for summary




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  judgment, a very different context than an anticipated motion to dismiss after which amendment

  is typically “freely” allowed pursuant to Fed. R. Civ. P. 15.

         In sum, the federal rules, as well as L.R. 16-1, evince a clear policy in favor of advancing

  litigation expeditiously through precisely the events that the NCAA seeks to delay: a speedy and

  substantial meet and confer process within 90 days aimed at avoiding unnecessary disputes, and

  a pretrial conference intended to expedite disposition or settlement of the action, prevent delays,

  and improve the quality of discovery. See Fed. R. Civ. P. 16(a). The relief the NCAA seeks

  would unnecessarily delay engagement on these and other critical pretrial matters, such as a

  protective order and protocol for exchanging electronically stored information, initial

  disclosures, and discovery, thereby creating significant delays in the orderly progress of the case.

  For these and the above reasons, the NCAA’s request to stay the CMP filing and CMC deadline

  should be denied.

         B. The NCAA has not met its burden to justify a deviation from this District’s
            standard practice allowing discovery to commence notwithstanding a motion to
            dismiss.

         The NCAA also asks that this Court stay discovery until its motion to dismiss is decided,

  but “a pending motion to dismiss does not typically warrant a stay of discovery.” Heckler &

  Koch, Inc. v. German Sport Guns GmbH, No. 1:11-CV-1108-SEB-TAB, 2013 WL 2406262, at

  *6 (S.D. Ind. May 31, 2013). See also SK Hand Tool Corp. v. Dresser Indus., 852 F.2d 936, 945

  (7th Cir. 1988) (“we agree that there is no requirement that the discovery cease during the

  pendency of a motion to dismiss….”) (internal quotations and citation omitted).

         It is standard practice in this District to allow discovery to commence notwithstanding a

  pending motion to dismiss. See, e.g., Red Barn Motors, Inc., 2016 WL 1731328, at *3; CMG

  Worldwide Inc. v. Adidas Am., Inc., No. 1:17-CV-2356-RLM-DML, 2018 WL 7140117, at *3




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  (S.D. Ind. Sept. 26, 2018) (“This court has no general policy of staying discovery when a motion

  to dismiss is filed, nor does the filing of a motion to dismiss trigger a presumption that discovery

  will be stayed.”). This conclusion is especially true where, as shown above, the NCAA’s

  anticipated motion to dismiss is unlikely to resolve the case in its entirety. See EEOC v. Fair

  Oaks Dairy Farms, LLC, No. 2:11 CV 265, 2012 WL 3138108, at *3 (N.D. Ind. Aug. 1, 2012).

  See also Red Barn Motors, 2016 WL 1731328, at *3 (“[A]s a general matter, a stay of discovery

  is warranted only when a party raises a potentially dispositive threshold issue”); United States ex

  rel. Robinson v. Indiana Univ. Health Inc, 2015 WL 3961221, at *9 (“[T]he prospect of

  [defendant’s] motions resolving this case in its entirety is simply not high enough to justify

  granting a stay”).

          In sum, the NCAA cannot meet the elements required to meet its burden for a stay where

  (i) a stay will unduly prejudice Plaintiffs; (ii) a stay will not simplify the issues; and (iii) a stay

  will not reduce the burden of litigation on the parties and on the court.

                  1.      A stay will prejudice Plaintiffs.

          First, the NCAA argues that Plaintiffs will not be prejudiced by any stay. The NCAA

  claims the case is at its infancy and “no court has adjudicated the substance of any motion to

  dismiss the pleadings by the NCAA on grounds other than personal jurisdiction.” NCAA Br. at

  4-5. This paints not even half of the picture; as set out above, the case has been pending for

  seven months and Judge Davila has already decided the statute of limitations issue in favor of

  Plaintiffs under Rule 12. Plaintiffs will argue that such determination cannot be revisited.

          Tellingly, the NCAA ignores the grave allegations it faces, and the prejudice that would

  befall Plaintiffs if a stay were imposed. The first sentence of Judge Davila’s opinion recognized

  the seriousness of the case:




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                   The seriousness of the issue before the Court cannot be overstated.
                   In recent years, it has become clear that sexual assault on college
                   campuses is a pervasive problem. Of course, as Larry Nassar
                   demonstrated, sexual assault on college campuses is not limited to
                   peer-to-peer assault; it also occurs between coaches and their
                   athletes. This case focuses on that latter type of sexual assault and
                   addresses the National Collegiate Athletic Association's ("NCAA")
                   responsibility (if any) to prevent sexual misconduct by collegiate
                   coaches.

   2020 WL 5255671, at *1 (emphasis added).

           Because of the nature of the allegations and the Amended Complaint’s request for

   injunctive relief, Plaintiffs’ case should not be stayed. In United States ex rel. Robinson v. Indiana

   Univ. Health Inc., the court denied the motion for a stay because, in part, the “important public

   policy” at the heart of the case, where the allegations, if proven “would establish that Defendants …

   have risked the health of some of society’s must vulnerable members….” 2015 WL 3961221, at *7.

   Those same words apply here. See also Red Barn Motors, 2016 WL 1731328, at *3 (this Court

   should “consider the prejudice to the judicial system as a whole and the prejudice to Plaintiffs

   from a stay of discovery”).

           Further, unless NCAA intends to file a motion to dismiss very different from the one it

   filed in the Northern District of California (contrary to its assertions thus far), then it is not true

   that it “will move to dismiss purely on legal grounds.” NCAA Br. 5. Indeed, many of its

   arguments, including its failure to state a claim arguments, are highly fact based, which means

   they cannot be decided on a motion to dismiss.

           The cases cited by the NCAA, where the plaintiffs did not claim prejudice, do not lead to

   a different conclusion. See NCAA Br. at 5. For example, Madbak v. Anthem Ins. Companies

   Inc., No. 1:16-cv-03197, 2017 WL 5075262, at *2 (S.D. Ind. May 23, 2017) (Brookman, J.)

   involved an insurance coverage dispute where “Plaintiffs did not set forth a direct argument

   addressing whether the stay would unfairly prejudice or tactically disadvantage Plaintiffs.”


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   Other cases cited by the NCAA involved stays pending decision on a motion for judgment on the

   pleadings pursuant to Rule 12(c), which by definition under that rule occurs after the pleadings

   are closed. See 6100 Pac., LLC v. CWI, Inc., No. 3:17-cv-00153, 2018 WL 3127175, at *2 (S.D.

   Ind. Mar. 16, 2018) (Brookman, J.) (Rule 12(c) motion and plaintiffs did not complain of

   prejudice); Gekas v. Vasiliades, No. 10-3066, 2012 WL 5948679, at *3 (C.D. Ill. Nov. 28, 2012)

   (Rule 12(c) at issue and the court did not address the issue of prejudice).

          Because of the significant prejudice to Plaintiffs from further delay, this Court should deny

   the NCAA’s request to stay discovery and the inquiry should end here.

                  2.      A stay will not simplify or streamline the issues.

          Likewise, the NCAA’s contention that its motion to dismiss will streamline the issues in

   the case fails. As discussed above, the NCAA does not have a basis for dismissing all claims

   against all Plaintiffs in one stroke, and its motion to dismiss will not likely be granted in its

   entirety. United States ex rel. Robinson v. Indiana Univ. Health Inc, 2015 WL 3961221, at *7

   (“[T]he prospect of [defendant’s] motions resolving this case in its entirety is simply not high

   enough to justify granting a stay”). Even if granted, however, leave to replead will be an option.

   See Fed. R. Civ. P. 15(a).

          This is not a case like Ashley W. v. Holcomb, No. 3:19-cv-00129-RLY-MPB, 2019 WL

   9673894 (S.D. Ind. Oct. 31, 2019) (Brookman, J.) (cited at NCAA Br. at 6), where the court

   granted the stay because “this Court may not have jurisdiction to consider this litigation.” The

   NCAA acknowledges that its expected motion to dismiss will not argue lack of jurisdiction.

   NCAA Br. at 2-3. Thus, the NCAA’s argument that a stay will simplify the case is an empty

   promise, because the expected Rule 12 motion will not resolve the entire case.

          Further, discovery of the NCAA’s knowledge of sexual abuse by coaches and handling of

   abuse allegations by schools, and its control of NCAA member institutions, will be the same


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   regardless of which claims survive. As such, a stay will not serve to simplify or streamline

   discovery here.

                  3.      A stay will not reduce the burden of litigation on the parties or this
                          Court.

          The NCAA also cannot satisfy the third element to warrant a stay. The NCAA argues

   that a stay of discovery will conserve resources, but the NCAA’s bald assertions of cost without

   evidence cannot carry the day. See FED. R. CIV. P. 26(b), Advisory Committee’s Notes (2015).

   See also Red Barn Motors, 2016 WL 1731328, at *3 (“Defendants have failed to make a

   showing, with affidavits or other supporting evidence, that the discovery requests would impose

   a substantial burden on NextGear . . . All that Defendants have offered to support their motion

   are the unsupported statements of counsel in briefs. This is insufficient.”); U.S. ex rel. Robinson

   v. Ind. Univ. Health, Inc., 2015 WL 3961221, at *4 (a showing of undue burden “typically

   requires affidavits or other evidence supporting a party’s assertions of burden”); New Eng.

   Carpenters Health & Welfare Fund v. Abbott Labs., No. 12 C 1662, 2013 WL 690613, at *3

   (N.D. Ill. Feb. 20, 2013) (“[Defendant] provides no clear showing of its burden or cost with any

   anticipated discovery. Therefore, Defendants’ motion to stay discovery is denied.”) (citation

   omitted); Forest River, Inc. v. Heartland Recreational Vehicles, LLC, No. 3:08-CV-490-JD,

   2012 WL 4049268, at *3 (N.D. Ind. Sept. 12, 2012) (denying discovery stay where “[t]he

   movants do not provide the Court with any specifics regarding the anticipated costs of providing

   the discovery or any evidentiary support as to such cost estimates. Rather, the movants make

   only bald assertions that discovery relative to the claims would be an ‘enormous, needless

   expense.’”).

          The NCAA is aware of the discovery Plaintiffs desire. See NCAA Br. at 6. Plaintiffs

   will likely seek information relating to, inter alia, the NCAA’s policies and procedures as to



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   sexual abuse and rulemaking, its knowledge of abuse by coaches and handling of abuse

   allegations by schools, and its control of NCAA member institutions. This anticipated discovery

   is not onerous, has nothing to do with class size, and will be the same irrespective of which

   claims might survive a motion to dismiss.

          Further, the lack of any NCAA policies on the subject and its contention that it does not

   monitor or police sexual abuse by coaches directly contradicts its contention that such discovery

   (into information it apparently does not even have or maintain) would be burdensome. Nor has

   the NCAA offered evidence to show that a stay of discovery, or indeed of any case-related

   deadlines, is warranted. See Red Barn Motors, 2016 WL 1731328, at *2 (party seeking stay

   bears the burden of showing that discovery stay is warranted).

          The cases on which the NCAA relies are distinguishable. In Panther Brands, LLC v.

   Indy Racing League, LLC, No. 1:14-cv-00472, 2014 WL 11411864 (S.D. Ind. Oct. 15, 2014)

   (cited at NCAA Br. at 5), the defendant estimated the cost of document production and review,

   and the court found that defendants had shown the discovery would be “voluminous and costly.”

   Moreover, the motion to dismiss had been fully briefed, and plaintiffs’ only claim of prejudice

   was the impending trial deadline. In finding the case a “close question,” the court suggested it

   could alleviate any prejudice to plaintiff by extending the deadlines for good cause. Id., *3. See

   also Dillinger, LLC v. Elec. Arts, Inc., No. 1:09-cv-01236-SEB-JMS, 2010 WL 1945739, at *1

   (S.D. Ind. May 11, 2010) (cited at NCAA Br. at *4) (finding that a discovery stay may ultimately

   operate to plaintiff’s benefit, as a small corporation complaining of litigation costs); Nexstar

   Broad., Inc. v. Granite Broad. Corp., No. 1:11-CV-249, 2011 WL 4345432, at *3 (N.D. Ind.

   Sept. 15, 2011) (cited at NCAA Br. at 5) (“Discovery concerns are particularly great in antitrust




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   litigation, where discovery can quickly become enormously expensive and burdensome to

   defendants.”) (citation omitted).

          This case is more like United States ex rel. Robinson v. Indiana Univ. Health Inc., 2015

   WL 3961221, at *5, in which the court denied a motion to stay discovery where “Defendants

   broadly decry the time and expense that they expect will be associated with responding to

   Relator’s requests for production, but they offer no estimate regarding how much time or how

   much money will be expended.”

          Indeed, it is the Court’s “important and inherent authority and obligation to . . . ensure

   that litigation proceeds expeditiously….” Fugate v. Martin, No. 2:16-cv-00063-JMS-MJD, 2019

   WL 2088567, at *5 (S.D. Ind. May 10, 2019). See also Fed. R. Civ. P. 1 (“[These rules] should

   be construed, administered, and employed by the court and the parties to secure the just, speedy,

   and inexpensive determination of every action and proceeding.”). In light of NCAA’s failure to

   support its undue burden assertions, this Court should deny its motion to stay discovery.

                                            CONCLUSION

          There is no good cause to vacate the deadline established by the Local Rules to submit the

   Case Management Plan, delay the initial Case Management Conference, or stay discovery.

   Accordingly, Defendants’ motion should be denied.


   Dated: October 26, 2020                       Respectfully submitted,

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                                  CERTIFICATE OF SERVICE


          I certify that on October 26, 2020, a copy of the foregoing filed by CM/ECF and served

   on all counsel of record through the CM/ECF system.


                                                        /s/ Elizabeth A. Fegan
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